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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 09-22349-CIV-SEITZ
                                  04-20705-CR-SEITZ

                          Magistrate Judge Goodman
  DARRYL RICHARDSON,

        v.

  UNITED STATES OF AMERICA
                                      /

               GOVERNMENT’S RESPONSE IN OPPOSITION TO MOVANT’S
              MOTION FOR DISCOVERY AND PRODUCTION OF DOCUMENTS

        The    United   States   of       America   respectfully   submits   that

  movant’s Motion For Discovery And Production Of Documents, D.E. 30,

  and its accompanying memoradum of law, D.E. 31, are without merit,

  and should be denied, for the following reasons:

        1. After two juries deadlocked, movant was convicted for

  conspiring to distribute cocaine.             The court of appeals affirmed

  his conviction, and movant has attempted to seek relief pursuant to

  28 U.S.C. §2255.       Movant now demands discovery in an effort to

  support his claims.

        2. As part of his §2255 petition, movant claimed his attorney

  was ineffective for failing to call certain witnesses who would

  allegedly show that government witnesses fabricated their testimony

  and lacked direct knowledge of movant’s cocaine trafficking.

        3. In the instant motion, movant makes an overbroad and non-

  specific demand for:

               all typed, written or electronic versions of

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                any and all e-mails, letters, DEA Reports, and
                FBI reports related to Marvin Griffin, Keith
                Biggins, Rocky Marshall, Norris Benton,
                Gregory Barnes, Jerdy Miller, Robbie Horton,
                Derrick Blake, Christopher Mitchell, Roshawn
                Davis, and Lamont Harrison.


  D.E. 31:2.     He also demands all documents, letters, statements and

  recordings related to the same list of individuals.                  D.E. 30:3-4.

  Of   the    listed    individuals,       two   (Biggins    and    Griffin)     never

  testified in any of movant’s trials.                   Seven (Marshall, Benton,

  Barnes, Miller, Blake, Mitchell and Harrison) testified in the

  trial resulting in movant’s conviction. Two (Horton and Davis)

  testified      prior to but not during the trial where movant was

  convicted.

         4.     Under      Rule   6   of   the   Rules    Governing    Section    2255

  Proceedings, a judge “may, for good cause, authorize a party to

  conduct discovery under the Federal Rules of Criminal Procedure or

  Civil Procedure, or in accordance with the practices and principals

  of law.”      Rule 6(a).        The party seeking discovery “must provide

  reasons     for    the    request”       and   “must    specify     any   requested

  documents.”       Rule 6(b).

         5. Movant’s demand for unspecified documents, in whatever

  form, relating to a list of witnesses and non-witnesses fails to

  meet   Rule    6's    requirement        for   specificity   and     is   therefore

  deficient.      See United States v. Garcia, CR S-02-0519 at *4 (E.D.

  Cal. Jan. 11, 2010)(available at 2010 WL 144860)(denying discovery


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  of any documents in trial counsel’s file which may be relevant to

  Section    2255    motion;     request   was    insufficiently     specific   and

  “appears to be in the nature of a fishing expedition”); United

  States v. Naha, 04-977 at *8 (D. Ariz. Jan. 11, 2007)(available at

  2007 WL 91614) (request for discovery directed at evidence of

  prosecutorial misconduct based on use of perjured testimony; absent

  “a clearly articulated scope for the discovery sought, the Court is

  unable to grant Movant’s request”); see also Teti v. Bender, 507

  F.3d 50, 60. (1st Cir. 2007)(“A habeas proceeding is not a fishing

  expedition”       and   generalized      discovery    request    did   not    meet

  requirements of rule). Because movant has failed to establish a

  necessary requirement for discovery, his motion should be denied.

        6.     Moreover,     a   habeas    petitioner    “is   not   entitled     to

  discovery as a matter of course.”              Isaacs v. Head, 300 F.3d 1232,

  1248 (11th Cir. 2002)(citing Bracey v Gramley, 520 U.S. 899, 904

  (1997)).    Instead, federal habeas petitioners only have access to

  discovery if they can make a showing of good cause.                    Id.; Rule

  6(a), Rules Governing Section 2255 Proceedings. Good cause exists

  where a court receives specific allegations, which, if fully

  developed, reflect that a petitioner may be entitled to relief.

  300 F.3d at 1248.       Movant has not meet this standard.

        7.     The discovery movant seeks allegedly relates to his

  attorney’s    decision       not   to    call    certain   witnesses.        Which

  witnesses, if any, to call, and when to call them, is the “epitome


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  of a strategic decision” and one which a court will seldom, if

  ever, second guess.         Conklin v. Schofield, 366 F.3d 1191, 1204

  (11th Cir. 2004). Contrary to what movant suggests, an attorney has

  no absolute duty to investigate certain facts or a particular line

  of defense.      Streeter v. United States, 08-13621, slip op. at *4

  (11th Cir. June 30, 2009(available at 2009 WL 1854815).              See also

  Demar v. United States, 228 Fed.Appx. 940, 951-52 (11th Cir.

  2006)(defense counsel’s failure to establish prosecution witness’

  willingness to change testimony for money, and to call defense

  witness for that purpose, was not ineffective assistance). For all

  of the reasons provided in the government’s response to movant’s

  original petition, D.E. 8:24-32, movant has failed to show good

  cause.

          8. Other than a newspaper account of prosecutorial misconduct

  in an unrelated case in the Middle District of Florida, movant’s

  support for discovery consists of allegations from a convicted

  trafficker named Keith Biggins.         Biggins, in an affidavit attached

  to D.E. 31, alleges that he displayed movant’s photograph in his

  cell,    but    concedes   that   one   witness   against   movant    (Lamont

  Harrison) did not need the photograph to identify movant.                D.E.

  31:9.     The affidavit is unclear as to what other witnesses relied

  on the photograph rather than their own personal knowledge of

  movant.        The remainder of the allegations in Biggin’s affidavit

  consist of inadmissible hearsay.            Since his allegations were no


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  more than hearsay, movant cannot prove that his counsel was

  ineffective for declining to call Biggins to provide inadmissible

  testimony during his trial.         For these factual reasons, movant has

  failed to show good cause in support of his motion.

        9. As a final matter, the prosecution notes that there are no

  written materials reflecting that government witnesses lied during

  movant’s trial; that government witnesses identified movant from a

  photograph displayed by Keith Biggins; or that government witnesses

  based their testimony on information provided by other inmates as

  opposed to their personal knowledge.

        10.    For   all   of   the   foregoing   reasons,   the   motion   for

  discovery should be denied.



                                             Respectfully submitted,

                                             WIFREDO A. FERRER
                                             UNITED STATES ATTORNEY

                                       By: S/ Karen E. Rochlin
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                           CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing

  was served by CM/ECF and by mail this 28th day of December, 2010,

  on Darryl Richardson, No. 63986-004, FCI Jesup, 2680 Highway 301

  South, Jesup, GA 31599.



                                           S/ Karen E. Rochlin
                                           KAREN E. ROCHLIN




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